          Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 1 of 33




                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


     AERITAS, LLC,

                Plaintiff                                 Case No. 6:19-cv-00937


                v.                                        JURY TRIAL DEMANDED


     WHATABURGER RESTAURANTS, LLC.

                Defendant




             AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Aeritas, LLC (“Aeritas” or “Plaintiff”) files this Complaint for patent

infringement against Whataburger Restaurants, LLC. (“Whataburger” or “Defendant”),

and alleges as follows:

                                 NATURE OF THE ACTION

1.      This is an action for patent infringement arising under 35 U.S.C. § 1 et seq.

                                            PARTIES

2.      Aeritas is a limited liability company organized and existing under the laws of the

State of Texas with its principal place of business in Dallas, Texas.

3.      Upon information and belief, Whataburger Restaurants, LLC is a corporation

organized and existing under the laws of the State of Texas, with its principal place of

business at 300 Concord Plaza Drive, San Antonio, Texas 78216. Whataburger may be

served with process through its registered agent Corporation Service Company dba CSC-

Lawyers Incorporated, 211 E. 7th Street, Suite 620, Austin, Texas 78701. Defendant
         Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 2 of 33




operates businesses in multiple locations in this jurisdiction including, but not limited to

at in this judicial district at 928 S 7th St, Waco, TX 76706.

                              JURISDICTION AND VENUE

4.     This Court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a).

5.     Upon information and belief, Defendant is subject to personal jurisdiction of this

Court based upon it having regularly conducted business, including the acts complained

of herein, within the State of Texas and this judicial district and/or deriving substantial

revenue from goods and services provided to individuals in Texas and in this District.

6.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400 because

Defendant has committed acts of infringement and has regular and established places of

business in this judicial district.




COMPLAINT FOR PATENT INFRINGEMENT                                                   PAGE | 2
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 3 of 33




                   OVERVIEW OF THE WHATABURGER APP

7.    Defendant provides for its customers use the Whataburger App, which is available

for use with iOS and Android devices:




COMPLAINT FOR PATENT INFRINGEMENT                                             PAGE | 3
         Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 4 of 33




https://apps.apple.com/us/app/whataburger/id1141643627




COMPLAINT FOR PATENT INFRINGEMENT                                        PAGE | 4
         Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 5 of 33




https://play.google.com/store/apps/details?id=wb.mobile.cx.client.droid

8.     The Whataburger App uses the location of the user’s device in order to identify the user’s

location and to operate properly.




COMPLAINT FOR PATENT INFRINGEMENT                                                       PAGE | 5
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 6 of 33




COMPLAINT FOR PATENT INFRINGEMENT                                      PAGE | 6
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 7 of 33




9.    The Whataburger App and server uses the user’s location to identify nearby

Whataburger stores.




COMPLAINT FOR PATENT INFRINGEMENT                                        PAGE | 7
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 8 of 33




10.   The Whataburger App uses the user’s spoken input as criteria to search for and

locate desired Whataburger stores.




COMPLAINT FOR PATENT INFRINGEMENT                                           PAGE | 8
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 9 of 33




11.   The Whataburger App uses the user’s touch screen input as criteria to search for

and locate desired Whataburger stores.




COMPLAINT FOR PATENT INFRINGEMENT                                             PAGE | 9
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 10 of 33




12.   The Whataburger App allows a user to select a particular location as a favorite

location, and the App provides additional details regarding the favorite location.




COMPLAINT FOR PATENT INFRINGEMENT                                                PAGE | 10
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 11 of 33




COMPLAINT FOR PATENT INFRINGEMENT                                   PAGE | 11
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 12 of 33




13.   The Whataburger App and server allow the user to create an order for items at a

particular Whataburger location.




COMPLAINT FOR PATENT INFRINGEMENT                                           PAGE | 12
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 13 of 33




14.   When placing an order, the Whataburger App provides additional details for a

selected item.




COMPLAINT FOR PATENT INFRINGEMENT                                        PAGE | 13
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 14 of 33




15.   The Whataburger App allows a user to save an order as a favorite order.




COMPLAINT FOR PATENT INFRINGEMENT                                               PAGE | 14
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 15 of 33




COMPLAINT FOR PATENT INFRINGEMENT                                   PAGE | 15
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 16 of 33




16.    When saving the order as a favorite, the Whataburger app allows the user’s to

input a description of the order using voice input.




COMPLAINT FOR PATENT INFRINGEMENT                                          PAGE | 16
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 17 of 33




17.   Based on the user’s location and saved favorites, the Whataburger App is able to

search for and obtain information related to each, including stores that are currently

accepting mobile orders.




COMPLAINT FOR PATENT INFRINGEMENT                                            PAGE | 17
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 18 of 33




COMPLAINT FOR PATENT INFRINGEMENT                                   PAGE | 18
          Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 19 of 33




18.      When the Whataburger App is connected to the Whataburger server, the App is

able to receive notifications from the server, including a non-verbal response to spoken

input.




COMPLAINT FOR PATENT INFRINGEMENT                                              PAGE | 19
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 20 of 33




COMPLAINT FOR PATENT INFRINGEMENT                                   PAGE | 20
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 21 of 33




COMPLAINT FOR PATENT INFRINGEMENT                                   PAGE | 21
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 22 of 33




19.    The Whataburger App includes notification criteria, which is used to determine

when notifications are delivered to the user’s device.




COMPLAINT FOR PATENT INFRINGEMENT                                           PAGE | 22
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 23 of 33




COMPLAINT FOR PATENT INFRINGEMENT                                   PAGE | 23
         Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 24 of 33




20.    The Whataburger App receives results from the database search and delivers a list of

favorited stores with their distance and if they are currently accepting mobile orders.




                                       COUNT I
                       (Infringement of U.S. Patent No. 8,055,285)

21.    Aeritas incorporates paragraphs 1 through 20 as though fully set forth herein.

22.    Plaintiff is the owner, by assignment, of U.S. Patent No. 8,055,285 (the “’285

Patent”), entitled MIXED-MODE INTERACTION, which issued on November 8, 2011. A

copy of the ’285 Patent is attached as Exhibit PX-285.

23.    The ’285 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.




COMPLAINT FOR PATENT INFRINGEMENT                                                         PAGE | 24
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 25 of 33




24.    Defendant has been and is now infringing one or more claims of the ’285 Patent

under 35 U.S.C. § 271 by making and using the Whataburger App with users’ iOS and

Android devices and the Whataburger server in the United States without authority.

25.    Defendant has also infringed the ’285 Patent by encouraging users of the

Whataburger App to use the user’s iOS or Android devices with the Whataburger App to

practice the claims of the ’285 Patent.

26.    Claim 1 recites:

              1.     A method, comprising:

                     at a first time, receiving and storing an input in a user profile in a

                            database, the input comprising consumer interest data;

                     at a second time distinct from the first time, obtaining data

                            identifying a current location of the mobile communication

                            device;

                     based on the input stored in the user profile and the current

                            location of the mobile communication device, initiating a

                            search to locate information pertinent to the input;

                     receiving results derived from the search; and

                     in response to the input and the search, delivering, by a

                            notification server, information to the mobile

                            communications device.

27.    More particularly, Defendant infringes at least claim 1 of the ’285 Patent.

Defendant receives and stores an input in a user profile in a database, the input

comprising consumer interest data. At a second time, data identifying a current location



COMPLAINT FOR PATENT INFRINGEMENT                                                  PAGE | 25
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 26 of 33




of the mobile communications device on which the Accused Instrumentality is installed

is obtained. Based on the input and location, Defendant performs a search to locate

pertinent information (e.g., nearby stores) and receive the results of such search, distance

from mobile device. Defendant then provides the information to the mobile

communications device.

28.    Aeritas has been damaged by Defendant’s infringing activities.

                                    COUNT II
                     (Infringement of U.S. Patent No. 9,390,435)

29.    Aeritas incorporates paragraphs 1 through 20 as though fully set forth herein.

30.    Plaintiff is the owner, by assignment, of U.S. Patent No. 9,390,435 (the “’435

Patent”), entitled MIXED-MODE INTERACTION, which issued on June 12, 2016. A copy

of the ’435 Patent is attached as Exhibit PX-435.

31.    The ’435 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

32.    Defendant has been and is now infringing one or more claims of the ’435 Patent

under 35 U.S.C. § 271 by making and using the Whataburger App with users’ iOS and

Android devices and the servers in the United States without authority.

33.    Defendant has also infringed the ’435 Patent by encouraging users of the

Whataburger App to use the user’s iOS or Android devices with the Whataburger App to

practice the claims of the ’435 Patent.

34.    Claim 1 recites:

              1.     Apparatus, comprising:

                     a processor;

                     computer memory holding computer program instructions to:


COMPLAINT FOR PATENT INFRINGEMENT                                                  PAGE | 26
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 27 of 33




                     receive first data indicating a permission to provide a mobile device

                            user a notification, the notification having an associated

                            notification criteria;

                     at a given time, determine a location of a mobile device;

                     based at least in part on a determined location of the mobile device

                            and the notification criteria, to provide to the mobile device

                            the notification, the notification being associated at the

                            mobile device with one of: an audible, visual and tactile

                            alert;

                     receive second data as a result of an input being received at the

                            mobile device following the notification;

                     retrieve information associated with the input and the determined

                            location of the mobile device; and

                     provide to the mobile device a response to the input, the response

                            based on the retrieved information.

35.    More particularly, Defendant infringes at least claim 1 of the ’435 Patent. On

information and belief, Defendant employs a processor and computer memory holding

computer program instructions to perform the functions described above. Defendant

receives data indicating permission to provide a notification to a mobile device user in

accordance with notification criteria. At a given time, Defendant determines the location

of the mobile device. Based on the location and notification criteria, Defendant provides

at least a visual alert notification. Defendant receives second data as a result of an input

being received at the mobile device, retrieves information associated with the input and



COMPLAINT FOR PATENT INFRINGEMENT                                                  PAGE | 27
        Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 28 of 33




location, and provides responsive information to the mobile device (e.g., store

information).

36.    Aeritas has been damaged by Defendant’s infringing activities.

                                    COUNT III
                     (Infringement of U.S. Patent No. 8,620,364)

37.    Aeritas incorporates paragraphs 1 through 20 as though fully set forth herein.

38.    Plaintiff is the owner, by assignment, of U.S. Patent No. 8,620,364 (the “’364

Patent”), entitled MIXED-MODE INTERACTION, which issued on December 31, 2013.

A copy of the ’364 Patent is attached as Exhibit PX-364.

39.    The ’364 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

40.    Defendant has been and is now infringing one or more claims of the ’364 Patent

under 35 U.S.C. § 271 by making and using the Whataburger App with users’ iOS and

Android devices and the Whataburger servers in the United States without authority.

41.    Defendant has also infringed the ’364 Patent by encouraging users of the

Whataburger App to use the user’s iOS or Android devices with the Whataburger App to

practice the claims of the ’364 Patent.

42.    Claim 1 recites:

                1.   Apparatus, comprising:

                     a processor;

                     computer memory holding computer program instructions to execute

                            a rules engine that correlates data identifying a location of a

                            mobile communication device, consumer interest data, data

                            associated with one or more inventory attributes, and


COMPLAINT FOR PATENT INFRINGEMENT                                                 PAGE | 28
         Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 29 of 33




                              notification criteria that defines when a notification is to be

                              delivered to the mobile communications device and a type of

                              such notification, and to generate a message for delivery to

                              the mobile communication device if at least one matching rule

                              in the rules engine is triggered and the notification criteria

                              are met, the message identifying one or more suppliers in the

                              location    with   inventory     that   a   user   of   the     mobile

                              communication device has expressed an interest in as

                              indicated by the consumer interest data; and

                       computer memory holding computer program instructions executed

                              by the processor to selectively deliver the message to the

                              mobile communications device according to the notification

                              criteria.

43.    More particularly, Defendant infringes at least claim 1 of the ’364 Patent. On

information and belief, Defendant employs a processor with computer memory that holds

computer program instructions to execute a rules engine that correlates data identifying

a location of a mobile communication device, consumer interest data, data associated

with one or more inventory attributes, and notification criteria that defines when a

notification is to be delivered to the mobile communications device and a type of such

notification.

44.    In use of this system, the Defendant generates a message for delivery to the mobile

communication device if at least one matching rule in the rules engine is triggered and the

notification criteria are met in which the message identifying one or more suppliers in the location



COMPLAINT FOR PATENT INFRINGEMENT                                                           PAGE | 29
         Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 30 of 33




with inventory that a user of the mobile communication device has expressed an interest in as

indicated by the consumer interest data.

45.     The system’s memory further has stored instructions, that when executed, cause the

processor to selectively deliver the message to the mobile communications device according to the

notification criteria.

46.     Aeritas has been damaged by Defendant’s infringing activities.

                                        COUNT IV
                         (Infringement of U.S. Patent No. 7,706,819)

47.     Aeritas incorporates paragraphs 1 through 20 as though fully set forth herein.

48.     Plaintiff is the owner, by assignment, of U.S. Patent No. 7,706,819 (the “’819

Patent”), entitled MIXED-MODE INTERACTION, which issued on April 27, 2010. A

copy of the ’819 Patent is attached as Exhibit PX-819.

49.     The ’819 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

50.     Defendant has been and is now infringing one or more claims of the ’819 Patent

under 35 U.S.C. § 271 by making and using the Whataburger App with users’ iOS

and Android devices and the Whataburger server in the United States without

authority.

51.     Defendant has also infringed the ’819 Patent by encouraging users of the

Whataburger App to use the user’s iOS or Android devices with the Whataburger App

to practice the claims of the ’819 Patent. Defendant has notice of the ’819 Patent at

least as of the date of service of this complaint.

52.     Claim 1 recites:


COMPLAINT FOR PATENT INFRINGEMENT                                                        PAGE | 30
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 31 of 33




      1.    A method comprising:

                   receiving spoken input from a wireless communication device;

                   obtaining data identifying a current location of the wireless

                         communication device;

                   based on the current location of the wireless communication

                         device and the spoken input, retrieving information;

                   delivering, to the wireless communication device by a notification

                         server, a non-verbal response to the spoken input, the non-

                         verbal response based on the retrieved information and

                         including   a   drill-down   menu    by   which   additional

                         information related to the retrieved information can be

                         obtained; and

                   providing additional information related to the retrieved

                         information in response to receipt of at least one additional

                         input provided via the drill-down menu.

53.   More particularly, Defendant infringes at least claim 1 of the ’819 Patent.

Defendant receives spoken input from a wireless communication device. Defendant

obtains data identifying the current location of the mobile device. Based on the

location and the spoken input, Defendant retrieves information. Defendant delivers

to the wireless device by a notification server, a non-verbal response to the spoken

input, the non-verbal response based on the retrieved information and including a

scroll-down menu by which additional information related to the retrieved



COMPLAINT FOR PATENT INFRINGEMENT                                            PAGE | 31
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 32 of 33




information can be obtained. Defendant provides additional information related to

the retrieved information in response to receipt of at least one additional input

provided via the scroll-down menu.

54.   Aeritas has been damaged by Defendant’s infringing activities.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests the Court enter judgment against

Defendant:

      1.     declaring that the Defendant has infringed the ’285, the ’435, the ’364,

             and the ’819 Patents;

      2.     awarding Plaintiff its damages suffered as a result of Defendant’s

             infringement of the ’285, the ’465, the ’364, and the ’819 Patents;

      3.     awarding Plaintiff its costs, attorneys’ fees, expenses, and interest; and

      4.     granting Plaintiff such further relief as the Court finds appropriate.

                                     JURY DEMAND

      Plaintiff demands trial by jury, Under Fed. R. Civ. P. 38.




COMPLAINT FOR PATENT INFRINGEMENT                                                  PAGE | 32
       Case 6:20-cv-00937-ADA Document 1 Filed 10/09/20 Page 33 of 33




      Dated: October 9, 2020            Respectfully submitted,

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COMPLAINT FOR PATENT INFRINGEMENT                                      PAGE | 33
